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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MONTANA

BUTTE DIVISION

NAUTILUS INSURANCE
COMPANY; and
EMPLOYERS MUTUAL
CASUALTY COMPANY,

Plaintiffs,
vs.

SENTINEL INSURANCE
COMPANY LIMITED,

Defendant.

 

 

No. CV 19-24-BU-SEH

ORDER

Pending before the Court is Employers Mutual Casualty Company (“EMC”)

and Nautilus Insurance Company’s (“Nautilus”) Joint Notice of Settlement of

Claims and Counterclaims and Joint Motion to Realign Employers Mutual
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Casualty Company as Co-Plaintiff.’ Sentinel Insurance Company (“Sentinel”) does
not oppose.”

ORDERED:

1. Nautilus’s claims of Count I —- Declaratory Judgment’ and Count II —
Equitable Contribution* against EMC are DISMISSED WITH PREJUDICE as
fully settled on the merits, each party to bear its own costs and fees.

2. EMC’s counterclaims of Count I — Declaratory Judgment:

995

Application of the “Physical Injury Rule”’ and Count II — Declaratory Judgment:
Contribution by “Time on Risk”® against Nautilus are DISMISSED WITH
PREJUDICE as fully settled on the merits, each party to bear its own costs and
fees.

3. EMC’s claim of Equitable Subrogation (Count VI) against Sentinel is

DISMISSED WITH PREJUDICE as fully settled on the merits, each party to bear

its own costs and fees.

 

"Doc. 131.

? See Doc. 131 at 2.
> See Doc. 48 at 21.
‘ See Doc. 48 at 22.
* See Doc. 52 at 21.

® See Doc. 52 at 23.
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4. The case caption of the case is amended to reflect Nautilus’s status as
Co-Plaintiff with EMC and Sentinel as the sole-remaining Defendant.

DATED this ey of October, 2020.

AM E. HADDON
United States District Judge
